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                                          No. 15-41C
                                  (Filed: February 20, 2015)               FILED
                                  NOT FOR PUBLICATION                     FEB 2 0 2015
                                                                         U.S. COURT OF
                                                      )                 FEDERAL CLAIMS
ROBERT AJAMIAN,                                       )
                                                      )
                     Plaintiff,                       )   Pro Se Complaint; Sua Sponte
                                                      )   Dismissal for Want of
v.                                                    )   Jurisdiction; RCFC 12(h)(3);
                                                      )   Transfer; 28 U.S.C . § 1631
THE UNITED STATES,                                    )
                                                      )
                     Defendant.                       )
~~~~~~~~~~~)
Robert Ajamian, Latham, N.Y., pro se.

Mark E. Porada, Trial Attorney, Commercial Litigation Branch, Civil Division, United
                                                               1
States Department of Justice, Washington, D.C., for defendant.

                                           ORDER

CAMPBELL-SMITH, Chief Judge

       Before the court is the complaint of pro se plaintiff Robert Ajamian (plaintiff or
Mr. Ajamian) filed on January 14, 2015. 2 See Compl., ECF No. 1, at 1. 3 The relevant
facts giving rise to the claims in plaintiffs complaint appear to involve an allegation that

       Although defendant filed a Notice of Appearance, ECF No. 4, the court did not
request briefing from defendant and is acting sua sponte.
2
       Plaintiff al o fi led an Application to Proceed In Forma Pauperis. ECF No. 3. For
the limited purpose of addre sing the court jurisdiction, that motion is GRANTED. The
Clerk of Cow1 i directed t fil th complaint with no filing fee.
3
         Because the complaint does not include a caption, the official caption of the case
was upplied b the Office of the Clerk of Court in conformance with Rule lO(a) of the
Rul es of the Un ited State Court of Federal Claims (RCFC), which provides that "[t]he
ti tle of the complaint must name all the parties ... with the United States designated as
the party defendant.
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the death of his father was a result of medical malpractice and that the attorneys handling
his father's estate "destroyed [his] families [sic] property and damaged [their] lives." Id.
Plaintiffs past attempts to recover for these alleged wrongs have proven unsuccessful in
both state and federal court. See id. at 8. Plaintiff now seeks a writ of prohibition and
$42 million dollars in damages. Id. For the following reasons, the court DISMISSES
plaintiffs complaint.

I.     Background

       Attached to plaintiffs complaint is a decision by Judge Mae D' Agostino of the
United States District Court for the Northern District of New York (district court) that
di mi e a 42 U.. C. § 1983 a ti on brought by Mr. Ajamian against the State of New
York and the New York Stat Supr me Court, Appellate Division, Third Department
 N w York tat upr me Court) . See g n rally Mem.-Decision & Order, Ajamian v.
N w York No. 13-cv-13 16 20 14 WL 3928448 (N.D.N.Y Aug. 11, 2014). The district
court detailed the procedural history giving rise to the suit before it:

       On January 10, 2012, Plaintiff filed a claim in the New York State Court of
       Claims against the State of New York. The Court of Claims dismissed the
       claim because it merely "set[] fo rth vague and confusing allegations of
       'delay of justice' and 'conflict of int r t of certain judges and lawyers
       with respect to certain proceedings in th Albany County Surrogate's Court
       and in the Appellate Division, Third Department." Plaintiff appealed this
       decision, and the Third Department dismissed his appeal. Plaintiff then
       filed a motion to reargue, and the Third Department denied the motion.

Id. at* 1 (alterations in original) (internal citations omitted). Among the arguments
advanced by Mr. Ajamian was his contention that the New York State Supreme Court
"incorrectly distributed a portion of his father s estat and violated "State laws, Federal
laws, and international human right laws regarding [his fathers estate]." Id. Mr.
Ajamian added that "hi fa th r' s d ath was th r sui t of medi cal malpractice," and that he
"incurred excessive legal fees due to the corruption" of many of the same adverse parties
referred to in the instant action. Id. (internal quotation marks omitted); cf. Compl. 2
(listing adverse parties).

       The district court dismissed Mr. Ajamian's action based on several grounds, to
include (1) that the State of New York and the New York State Supreme Court are
immune from suit under the Eleventh Amendment; (2) that the Rooker-Feldman doctrine
barred it from modifying or reversing a state court judgment; and (3) that plaintiffs
"frivolous claims" failed to state a cause of action under 42 U.S.C. § 1983. Ajamian, No.
13-cv-1316, 2014 WL 3928448 at *6-7; cf. U.S. Const. amend. XI ("The Judicial power
of the United States shall not be construed to extend to any suit in law or equity
commenced, or prosecuted against any one of the United States by Citizens of another
State, or by Citizens or Subjects of any Foreign State."); 42 U.S.C. § 1983 (providing, in


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relevant part: "[e]very person who ... subjects, or causes to be subjected, any citizen of
the United States or other person within the jurisdiction thereof to the deprivation of any
rights, privileges, or immunities secured by the Constitution and laws, shall be liable to
the party injured"); Hachamovitch v. DeBuono, 159 F.3d 687, 693 (2d Cir. 1998) ("The
Rooker-Feldman doctrine provides that the lower federal courts lack subject matter
jurisdiction over a case if the exercise of jurisdiction over that case would result in the
reversal or modification of a state court judgment."). Plaintiff appealed this decision,
which was dismissed by the United States Court of Appeals for the Second Circuit
"because it lack[ed] an arguable basis in law or fact." Order, Ajamian v. New York, No.
 14-2934 (2d Cir. Oct. 22, 2014), ECF No. 26; cf. Order, Ajamian, No. 14-2934 (2d Cir.
Nov. 25, 2014), ECF No. 38 (denying plaintiffs motion for reconsideration).

        In the instant action, plaintiff requests that the court issue a writ of prohibition "in
aid of this court's appellate jurisdiction" to remedy the New York state and federal
courts' violation of his constitutional rights. Compl. 8. Plaintiff also details his request
for $42 million:

        [M]y father's damages of 3 million from medical malpractice and
        discrimination from ... St. Mary's [Hospital] of Troy, NY, 5 million in
        damages, and our estate properties damages, 3 million[,] destroying our
        potential income of 3 of his children plus our losses taking care of our
        disabled brother ... costing us 3 million in losses from 1978-2015. This
        adds up to 14 million plus treble which is 42 million.

Id. at 4.

II.     Legal Standards

       The Tucker Act establishes and limits the jurisdiction of the Court of Federal
Claims. See 28 U.S .C. § 1491 (2012). The Tucker Act affords this court jurisdiction
over "any claim against the United States founded either upon the Constitution, or any
Act of Congress or any regulation of an executive department, or upon any express or
implied contract with the United States, or for liquidated or unliquidated damages in
cases not sounding in tort." Id. § 149l(a)(l). Although the Tucker Act waives the
sovereign immunity necessary for a plaintiff to sue the United States for money damages,
United States v. Mitchell, 463 U.S. 206, 212 (1983), it does not confer any substantive
rights upon a plaintiff, United States v. Testan, 424 U.S. 392, 398 (1976). A plaintiff
must identify an independent source of substantive law that creates a right to money
damages in order for the case to proceed. Fisher v. United States, 402 F.3d 1167, 1172
(Fed. Cir. 2005) (en bane in relevant part).

       "Subject-matter jurisdiction may be challenged at any time by the parties or by the
court sua sponte." Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004) (citing
Fanning, Phillips & Molnar v. West, 160 F.3d 717, 720 (Fed. Cir. 1998)); see also
Metabolite Labs .. Inc . . Lab. Corp. of Am. Holdings, 370 F.3d 1354, 1369 (Fed. Cir.
                                                3
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2004) ("Subject matter jurisdiction is an inquiry that this court must raise sua sponte,
even where, as here, neither party has raised this issue."). "In deciding whether there is
subject-matter jurisdiction, the allegations stated in the complaint are taken as true and
jurisdiction is decided on the face of the pleadings." Folden, 379 F.3d at 1354 (internal
quotation marks omitted).

        Although complaints filed by pro se plaintiffs are generally held to "less stringent
standards than formal pleadings drafted by lawyers," Haines v. Kerner, 404 U.S. 519, 520
(1972) (per curiam); see Vaizburd v. United States, 384 F.3d 1278, 1285 n.8 (Fed. Cir.
2004) (noting that pleadings drafted by prose parties "should ... not be held to the same
standard as [pleadings drafted by] parties represented by counsel"), prose plaintiffs
nevertheless must meet jurisdictional requirements, Bernard v. United States, 59 Fed. Cl.
497, 499, aff d, 98 F. App'x 860 (Fed. Cir. 2004) (per curiam); see also Kelley v. Dep't
of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987) ("[A] court may not similarly take a
liberal view of [a] jurisdictional requirement and set a different rule for pro se litigants
only."). If the court determines that it does not have subject matter jurisdiction, it must
dismiss the claim, RCFC 12(h)(3), unless the interest of justice is served by transferring
the case, 28 U.S.C. § 1631 (2012).

III.   Discussion

       For the following reasons, the court lacks subject matter jurisdiction over
plaintiffs claims. Because the transfer of plaintiffs case to another federal court is
inappropriate, the court dismisses plaintiffs complaint.

       A.     The Court Does Not Possess Jurisdiction over Plaintiffs Claims

       1.     Plaintiffs Request for a Writ of Prohibition

        Black's Law Dictionary defines a writ of prohibition as "[a]n extraordinary writ
issued by an appellate court to prevent a lower court from exceeding its jurisdiction or to
prevent a nonjudicial officer or entity from exercising a power." Black's Law Dictionary
1405 (10th ed. 2014); see Stephenson v. United States, 58 Fed. Cl. 186, 191 (2003)
(observing that an earlier edition of Black's Law Dictionary defined a writ of prohibition
as "'[a] writ issued by a superior court, directed to the judge and parties of a suit in an
inferior court, commanding them to cease from the prosecution of the same, upon a
suggestion that the cause originally, or some collateral matter arising therein, does not
belong to that jurisdiction, but to the cognizance of some other court"' (quoting Black's
Law Dictionary 1090-91 (5th ed. 1979))).

       Plaintiff mistakenly believes that the Court of Federal Claims possesses appellate
jurisdiction over the New York State Supreme Court, the United States District Court for
Northern District of New York, and the United States Court of Appeals for the Second
Circuit, and, in fact, appears to confuse this court with the United States Supreme Court.

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See Compl. 8 ("The above courts could not deliver justice so I have come here at the
United States Supreme Court to enforce my constitutional rights, bill of rights,
inalienable rights, and international human rights."). However, the Court of Federal
Claims does not possess appellate jurisdiction over any other court. See Joshua v. United
States, 17 F.3d 378, 380 (Fed. Cir. 1994) ("[T]he Court of Federal Claims does not have
jurisdiction to review the decisions of district courts . ... ");Hicks v. United States, No.
 10-793, 2011WL3319563, at *3 (Fed. Cl. Aug. 1, 2011) ("[T]he court has no
jurisdiction to review the decisions of other courts .... ");Hernandez v. United States, 96
Fed. Cl. 195, 203 (2010) ("This court does not possess jurisdiction to review decisions of
other courts or the proceedings in other federal courts."), appeal dismissed, 475 F. App'x
912 (Fed. Cir. 2011). Thus, the court lacks the authority to issue a writ of prohibition
against the courts identified by plaintiff--or any other court, for that matter.

       2.       Plaintiff's Remaining Claims

        Plaintiff's complaint can be read as raising independent claims against various
third parties, including certain named. judges and lawyers a bank and a hospital ~
Compl. 1, 4 ( laiming that Judge D go tino ' had a conflict of interest and that b r
dismissal of his case without a trial violated his due proces rights) · id. at 4 (claiming that
various judges, lawyers, and Troy Savings Bank "were all involved in the damages that
resulted [in] obstruction of justice"); id. at 1, 4 (referencing discrimination claims against
a hospital); cf. id. at 2-3 (citing to 22 A.L.R. 5th 261 (regarding "hate crime" statutes)
and 152 A.L.R. Fed. 1 (regarding "reverse discrimination" in contravention of the
Fourteenth Amendment's Equal Protection clause)). However, this court may only hear
claims properly brought against the United States. 28 U.S.C. § 149l(a)(l); see United
States v. Sherwood, 312 U.S. 584, 588 (1941) (stating that the jurisdiction of the Court of
Federal claims "is confined to the rendition of money judgments in suits brought for that
relief against the United States, and if the relief sought is against others than the United
States[,] the suit as to them must be ignored as beyond the jurisdiction of the court"
(internal citation omitted)). Accordingly, this court does not have jurisdiction to hear any
claims that are not against the United States.

       Plaintiffs complaint can also be read as lodging a new and independent 42 U.S.C.
§ 1983 action. See Comp!. 1 ("I filed this as a 42 U.S. Code § 1983 civil action for
deprivation of right prohibits the [New York State Supreme Court] from blocking justice
due to [a] conflict of interest."). "Section 1983 jurisdiction, however, is conferred
exclusively on the United States District Courts." Lowe v. United States, 76 Fed. Cl.
262, 266 (2007) (citing 28 U.S.C. § 1343(a)); see Simmons v. United States, 71 Fed. Cl.
188, 193 (2006) ("Jurisdiction for Section 1983 claims is conferred by 28 U.S.C. §
1343(a)(4) (2000), which grants district courts jurisdiction to hear Section 1983 claims.").
Accordingly, this court does not possess jurisdiction to hear claims arising under 42
u.s.c. § 1983.


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       Plaintiff further alleges that, pursuant to Rule 5015 of the New York Civil Practice
Law and Rules, he should be relieved from the New York State Supreme Court judgment
"due to fraud, misrepresentation, and misconduct of adverse parties" and because "the
court[] lack[ed] ... jurisdiction" to render the judgment. Compl. 3; cf. N.Y. C.P.L.R. §
5015(a)(3)-(4) (McKinney 2014) (providing that "[t]he court which rendered a judgment
or order may relieve a party from it upon such terms as may be just, on motion of any
interested person with such notice as the court may direct, upon the ground of: .. . 3.
fraud, misrepresentation, or other misconduct of an adverse party; or 4. lack of
jurisdiction to render the judgment or order"). As an initial matter, Rule 5015 gives only
the court that rendered the judgment the authority to relieve a party from the terms of said
judgment. See N.Y. C.P.L.R. § 5015(a). Furthermore, the New York Civil Practice Law
and Rules applies only to New York state courts, see id. § 101 ("The civil practice law
and rules shall govern the procedure in civil judicial proceedings in all courts of the state
[of New York] .... "),whereas the Court of Federal Claims is governed by the Rules of
the United States Court of Federal Claims, see RCFC 1 ("These rules govern the
procedure in the United States Court of Federal Claims in all suits."). And, more to the
point, lower federal courts (to include the Court of Federal Claims) do not have
jurisdiction to review state court judgements. Burlison v. United States, 75 Fed. Cl. 736,
741 (2007), affd, 227 F. App ' x 905 (Fed. Cir. 2007); see also Beres v. United States, 92
Fed. Cl. 737, 747 (2010) (discussing the Rooker-Feldman doctrine). Accordingly, this
court lacks jurisdiction to relieve plaintiff from a judgment of the New York State
Supreme Court.

       As discussed more fully above, the court has no jurisdiction over plaintiffs
claims. Before dismissing the complaint, however, the court evaluates the
appropriateness of a transfer.

       B.     Transfer of the Case to Another Court Is Not Appropriate

       The court now considers whether "it is in the interest of justice" to transfer
plaintiffs complaint to another court of the United States under 28 U.S.C. § 1631. See
Tex. Peanut Farmers v. United tates, 409 F.3d 1370, 1374-75 (Fed. Cir. 2005) (stating
that th Court of Federal Claims should onsider whether transfer is appropriate once the
court has d termined that it lack jurisdiction). Section 1631 states in pertinent part:

       Whenever a civil action is filed in a court as defined in section 610 of this
       title . . . and that court finds that there is a want of jurisdiction, the court
       shall, if it is in the interest of justice, transfer such action . . . to any other
       such court in which the action ... could have been brought at the time it
       was filed or noticed ....

28 U.S.C. § 1631; see 28 U.S.C. § 610 (defining courts as "courts of appeals and district
courts of the United States, the United States District Court for the District of the Canal


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Zone, the District Court of Guam, the District Court of the Virgin Islands, the United
States Court of Federal Claims, and the Court of International Trade").

       With respect to plaintiffs request for a writ of prohibition, only the New York
State Court of Appeals could issue such a writ of prohibition against the New York State
Supreme Court, and only the United States Supreme Court could issue a writ of
prohibition against the United States Court of Appeals for the Second Circuit. Neither of
these courts are ones in which transfer is permitted under 28 U.S.C. § 610. See 28 U.S.C.
§ 610; see also Sharpe v. United States, 112 Fed. Cl. 468, 478 (2013) ("Although the
courts to which transfer is permissible include the United States district courts, they do
not include the Supreme Court."); Mend z-Card nas . Unit d tate , 88 Fed. Cl. 162,
168 (2009) ("This court is unable to transfer any case to the state court system, as no state
court falls within the definition in § 610. "). Accordingly, the court lacks the authority to
transfer plaintiffs writ of prohibition request to another court "in which the action ...
could have been brought." See 28 U.S.C. § 1631.

        As to any remaining claims that could conceivably be heard by a court that falls
within the definition in 28 U.S.C. § 610-including those against certain judges, the State
of New York, and the Supreme Court of New York-the district court has already ruled
that such claims are barred on the grounds of judicial immunity and the Eleventh
Amendment. See Ajamian, No. 13-cv-1316, 2014 WL 3928448 at *3-5. And, "[t]o the
ext nt that any of [p] laintiffs claims [could] be construed as state-law claims," the
district court decline[d] to ex rcise suppl mental jurisdiction over them." Id. at *7; cf.
Compl. at 4 Ajamian No. 13-cv- 13 16 (N.D .N.Y Oct. 23, 2013), ECF No. 1 (raising
claims against variou lawyers and Tro avings Bank).

        Further, with respect to plaintiffs claims that Judge D' Agostino "had a conflict of
interest" and that her dismissal of his case without a trial violated his due process right,
Compl. 1, 4, the court observes that plaintiff has already raised similar claims before the
Second Circuit, see Pl.'s Mot. for Reconsideration at 7-10, Ajamian, No. 14-2934 (Nov.
17 2014) EC " No. 32 (making allegations purporting to support Judge Mae
D Ago tino s all ged confl ict of interest)· id. at 15 (referencing his "failure of a trial").
Although th econd Cir uit did not direct! address plaintiffs claims in its denial of
plaintiff motion for r consideration, see Order, Ajamian, No. 14-2934, (Nov. 25, 2014),
ECF No. 38, the court finds that transferring these claims to any other court would not be
in the interest of justice.

      Based on the foregoing, the court finds that transfer of plaintiffs remaining claims
would not be appropriate.

IV.    Conclusion

       For the foregoing reasons, the court finds that it lacks jurisdiction over plaintiff's
claims, and it is not in the interest of justice to transfer plaintiffs complaint. The Clerk

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of Court is directed to DISMISS plaintiffs complaint for lack of jurisdiction. See RCFC
12(h)(3). The Clerk of Court will enter judgment for defendant. No costs.

      IT IS SO ORDERED.




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